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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

                                                               15-CR-98G
              -v-

DAMIEN CARMICHAEL,

                Defendant.
___________________________________



                                 DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Frank P. Geraci,

Jr., in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and

report on dispositive motions.



                              PRELIMINARY STATEMENT

              The defendant, Damien Carmichael (“the defendant”), is charged, along

   with a number of co-defendants, with having violated Title 21 U.S.C. § 846 (Count

   1). Dkt. #1. The defendant, by his counsel, has filed a motion wherein he seeks to

   join in the “co-defendant Anthony Newbern’s omnibus motions.” Dkt. #153. This

   request is granted with the further directive and finding that the decision made by

   this Court as to each co-defendant’s requests contained in their motion in which the

   defendant joins shall be deemed to be the finding and order of this Court as to the

   defendant herein.
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              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:




              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the Clerk

of this Court within fourteen (14) days after receipt of a copy of this Decision and Order

in accordance with the above statue, Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.



              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).




              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of




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Rule 58.2 (concerning objections to a Magistrate Judge's Decision and Order),

may result in the District Judge's refusal to consider the objection.



DATED:       November 16, 2017
             Buffalo, New York




                                       S/ H. Kenneth Schroeder, Jr.
                                        H. KENNETH SCHROEDER, JR.
                                        United States Magistrate Judge




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